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                        UNITED STATES DISTRICT COURT
              FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                   Western Division

FireBlok IP Holdings, LLC
                                      Plaintiff,
v.                                                        Case No.: 3:19−cv−50122
                                                          Honorable John Z. Lee
Hilti, Inc.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 2, 2019:


         MINUTE entry before the Honorable Iain D. Johnston: The 7/9/2019 hearings and
the 7/3/2019 status report deadline are stricken. Initial status hearing set for 11/19/2019 at
9:00 AM. The parties shall jointly complete the PDF fillable initial status report form
found on the Court's webpage under Initial Status Conferences and Reports and file by
11/12/2019. Lead counsel with full knowledge of the case must appear in person at the
initial status hearing. Defense counsel's appearance form is due 7/3/2019. See Local Rule
83.16(a). (yxp, )




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